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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA :
—VR li-cr-65 (JSR)
GEORGE PAUL SALEMO, ORDER
Defendant.
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JED S. RAKOFF, U.S.D.JdJ.

In an Order dated May 17, 2020, the Court denied defendant
George Paul Salemo’s motion for compassionate release. Dkt. No.
103. In doing so, the Court recommended “to the BOP that it
consider Salemo for release to home confinement under the
broader discretion available to the BOP.” Id. at 7.

In a pro se letter to the Court dated September 19, 2020,
Salemo represented to the Court that the “BOP acted on [the]
Court’s recommendation” and that Salemo had “signed all the
required release documents on June 1, 2020.” Letter from George
Paul Salemo to the Court dated September 19, 2020, Dkt. No. 108,
at 1. Salemo further represented, however, that he received an
email on July 17, 2020, suggesting that his release to home
confinement had been forestalled due to some mistake or
ambiguity in his Presentence Report (“PSR”). Id. For that
reason, he suggests that the “PSR must be corrected.” Id. at 4.

Accordingly, the Court requests that the Government respond

to Salemo’s letter within two weeks hereof and to provide any
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further context regarding the nature of Salemo’s claims that it
deems appropriate.
SO ORDERED.

Dated: New York, NY

 

 

SeptemberdS , 2020 JED S. RAKOFF, U.S.D.d.

 

 

 

 
